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                           UNITED STATES DISTRICT COURT
   14                     CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
   15
        EXXON MOBIL CORPORATION,                   Case No. 2:22-cv-03225(DMG MRWx)
   16

   17                Petitioner/Plaintiff,         DEFENDANT-INTERVENORS’
               v.                                  OPPOSITION TO EXXONMOBIL
   18                                              CORPORATION’S EX PARTE
        SANTA BARBARA COUNTY                       APPLICATION TO CONTINUE
   19   BOARD OF SUPERVISORS,                      HEARING ON MOTIONS FOR
   20
                                                   SUMMARY JUDGMENT
                    Respondent/Defendant,
   21                                              Hon. Dolly Gee
        and
   22                                              Hearing: June 16, 2023
        ENVIRONMENTAL DEFENSE                      Time: 2:00 pm
   23   CENTER, GET OIL OUT!, SANTA                Place: Courtroom 8C,
   24   BARBARA COUNTY ACTION                      350 West 1st Street, Los Angeles
        NETWORK, SIERRA CLUB,
   25   SURFRIDER FOUNDATION,
        CENTER FOR BIOLOGICAL
   26   DIVERSITY, and WISHTOYO
   27
        FOUNDATION,

   28                Defendant-Intervenors.
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    1                                   INTRODUCTION
    2         The parties have known for nearly eleven months that cross motions for
    3   summary judgment would be briefed by late May 2023, Joint Report, Dkt. No.
    4   16 at 6 (July 28, 2022), and for almost nine months that those motions would
    5   be heard on June 16, 2023, Minute Order, Dkt. No. 21 (Sept. 20, 2022). Now
    6   that briefing is complete, and just one week before the hearing, ExxonMobil
    7   Corporation (“Exxon”) seeks a three-month delay for indeterminate,
    8   unjustified reasons. Exxon has not met the high standard for ex parte relief,
    9   and its application should be denied.
   10                                 STANDARD OF REVIEW
   11         “Ex parte applications are solely for extraordinary relief.” Standing
   12   Order, Dkt. No. 10 at 10. Such applications are “inherently unfair, and they
   13   pose a threat to the administration of justice.” Mission Power Eng’g Co. v.
   14   Cont’l Cas. Co., 883 F. Supp. 488, 489-90 (C.D. Cal. 1995). To establish it is
   15   entitled to ex parte relief, a party must show that its cause will be “irreparably
   16   prejudiced if the underlying motion is heard according to regular noticed
   17   motion procedures” and it is “without fault in creating the crisis that requires
   18   ex parte relief, or that the crisis occurred as a result of excusable neglect.” Id.
   19   at 492.
   20         As this Court clearly states in its Initial Standing Order paragraph titled
   21   Continuances, it has a “strong interest in keeping scheduled dates certain.
   22   Changes in dates are disfavored. Trial dates set by the Court are firm and will
   23   rarely be changed.” Requests “to continue or extend the date of any matter
   24   before this Court must be supported by a sufficient factual basis that
   25   demonstrates good cause why the change in date is essential.” Dkt. No. 10 at
   26   10-11 (emphasis in original).
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    1                                      ARGUMENT
    2          Exxon has not shown that it is entitled to ex parte relief under the
    3   Mission Power two-part test and the Court’s Standing Order.
    4          First, Exxon cannot be “irreparably prejudiced.” Id.1 The parties have
    5   known about the June 16th hearing date for months and briefing is already
    6   complete, so there is no harm to Exxon if the hearing is held as planned.
    7   Exxon cannot establish irreparable prejudice merely because it wants to delay
    8   the hearing so it has time to review additional information, conduct factual
    9   and legal research, or possibly make a new motion. See Garmon Corp. v.
   10   HealthyPets, Inc., No. 5:18-cv-00809-ODW(SHK), 2018 U.S. Dist. LEXIS
   11   88052, at *7 (C.D. Cal. May 24, 2018).
   12          Instead of evidence of irreparable prejudice, Exxon’s reasons for
   13   submitting this extraordinary application to delay the case by three full months
   14   are because it has “recently learned of potential opportunities which, if
   15   feasible, could largely (if not entirely) resolve this action.” Dkt. No. 49 at 1.
   16   Exxon contends it will take the 90 days to “explore these possibilities,
   17   assesses their feasibility, and meet and confer” regarding next steps, which
   18   “could include a potential resolution.” Id. None of this constitutes evidence of
   19   irreparable prejudice. Indeed, Exxon does not even commit to making a
   20   decision as to whether to move forward with a hearing come September 2023.
   21   While Exxon claims it merely seeks a 90-day continuance, further delays will
   22   be necessary to determine “appropriate next steps,” thus revealing the true
   23   relief it seeks is indefinite. Dkt. No. 49 at 3.
   24          Furthermore, Defendant-Intervenors note that while not their burden to
   25   demonstrate why some future, uncertain alternative route that Exxon may
   26   1
          Although Exxon attempts to shift the burden of proof to Defendant-
   27   Intervenors by questioning the prejudice to Defendant-Intervenors if the
        hearing is delayed, Dkt. No. 49 at 1, 4, 5, it is Exxon’s burden to show
   28   irreparable prejudice.
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    1   request to truck oil on will or will not moot this case, Exxon has not made any
    2   commitment to withdraw the pending case against Santa Barbara County. And
    3   Exxon’s “recently identified potential opportunities” also involve trucking oil
    4   along Highway 101 to Sisquoc “where it could potentially then go to market”
    5   on unspecified transport routes that could include Highway 101, Route 166,
    6   and other state and county roads. Dkt. No. 49 at 3. While these “potential
    7   opportunities,” which could take years to pursue, might avoid Route 166
    8   according to Exxon, Defendant-Intervenors note that in this case, the Board of
    9   Supervisors properly found, based on the evidence presented, that trucking oil
   10   on both Highway 101 and Route 166 would result in a significant risk of
   11   accidents and oil spills that could not be mitigated or avoided. Throughout the
   12   findings, the Board cites evidence of accident risks on Calle Real, Highway
   13   101, and Route 166 within the Project area. AR 12–13. This undermines any
   14   claim that a different trucking route would moot the current case.
   15          Rather than outline how it will be harmed if the hearing moves forward,
   16   Exxon’s application amounts to a concession that it simply does not want to
   17   continue litigating this case on the current timeline, does not want to receive a
   18   decision from this court, and yet does not want to dismiss its action until it has
   19   explored other nascent options for restarting its operations in Santa Barbara
   20   County.
   21          Second, Exxon cannot establish that it is “without fault in creating the
   22   crisis that requires ex parte relief, or that the crisis occurred as a result of
   23   excusable neglect.” Mission Power, 883 F. Supp. at 492. If this could even
   24   qualify as a “crisis,” which it cannot, it is a “crisis” of Exxon’s own making,
   25   the repercussions of which prejudice Defendant-Intervenors. The hearing on
   26   the cross motions for summary judgment has been scheduled since September
   27   2022. Given this, Exxon had a reasonable, commonsense, and far less
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    1   burdensome alternative available to it: it could have filed a standard motion to
    2   stay months ago, before the parties expended resources briefing the summary
    3   judgment motions.
    4         Instead, on June 7, 2023, Exxon’s counsel informed Defendant-
    5   Intervenors’ counsel for the first time that it would seek to continue the
    6   hearing. This decision is prejudicial to the other parties. Given Exxon’s
    7   improper ex parte filing, Defendant-Intervenors are required to respond to this
    8   application within 24 hours, while at the same time preparing for a hearing
    9   next week.
   10         Defendant-Intervenors have been waiting more than a year—since May
   11   2022, when Exxon challenged the Board of Supervisors’ denial of its project
   12   to truck oil—for clarity and resolution. It is inappropriate to postpone the
   13   hearing now, when there is no evidence of irreparable prejudice to Exxon,
   14   where such a delay is unlikely to resolve the issues presented in the pending
   15   motions for summary judgment, and where Exxon has otherwise failed to
   16   demonstrate good cause why the change in date is “essential” and warrants
   17   this extraordinary relief.
   18                                   CONCLUSION
   19         For the foregoing reasons, Defendant-Intervenors respectfully request
   20   that the Court deny Exxon’s ex parte application.
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    1   Respectfully submitted this 8th day of June, 2023
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   11                                   /s/ Julie Teel Simmonds
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   17                                   Attorneys for Center for Biological Diversity
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   18
        I, Julie Teel Simmonds, in accordance with Local Rule 5-4.3.4(a)(2)(i), attest
   19   that Linda Krop reviewed the pleading presented above, concurred in the
   20   content, and authorized the filing of this document bearing her signature with
        the Court.
   21
                                        /s/ Julie Teel Simmonds
   22                                   JULIE TEEL SIMMONDS
   23                                   Attorney for Center for Biological Diversity
   24                                   and Wishtoyo Foundation
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